 Case 3:23-cv-02893-SMY Document 26 Filed 10/18/23 Page 1 of 8 Page ID #76




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF ILLINOIS
                                     BENTON DIVISION

MANDY HARGETT,

                 Plaintiff,

         vs.                                          Case No. 3:23-cv-02893
HIRELEVEL, INC. and READERLINK                        Judge Staci M. Yandle
DISTRIBUTION SERVICES, LLC,

                 Defendants.


               DEFENDANT READERLINK DISTRIBUTION SERVICES, LLC’S
             MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO DISMISS

         Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Readerlink

Distribution Services, LLC (“Readerlink”), respectfully moves this Court for an Order dismissing

Plaintiff Mandy Hargett’s (“Plaintiff”) Complaint (the “Complaint”) as to Defendant Readerlink,

without prejudice, as Plaintiff has pleaded no facts establishing that Readerlink ever employed

Plaintiff. In support of this Motion, Readerlink states as follows:

I.       BRIEF FACTUAL BACKGROUND

         1.      Plaintiff’s Complaint asserts three causes of action under Title VII of the Civil

Rights Act of 1964, as amended (“Title VII”): (1) a claim of sexual harassment in Count I; (2) a

claim of sex-based discrimination in Count II; and (3) a claim of retaliation in Count III. (Compl.

[Dkt. 1].)

         2.      The Complaint names as defendants HireLevel, Inc. (“HireLevel”) and Readerlink

(collectively, “Defendants”).     Plaintiff alleges in conclusory fashion that she “was jointly

employed by Defendants as an ‘employee’ within the meaning of 42 U.S.C. §2000e(f).” (Compl.,

¶ 10.) The Complaint further alleges, without support, that “Defendants generally controlled the



                                                -1-
35720301.1
 Case 3:23-cv-02893-SMY Document 26 Filed 10/18/23 Page 2 of 8 Page ID #77




terms and conditions of Plaintiff’s employment” (Compl., ¶ 13) and “exerted significant control

over the same employees, including Plaintiff” and the two employees Plaintiff alleges engaged in

the purported conduct at-issue in the Complaint (Compl., ¶ 32).            However, beyond these

conclusory allegations, the Complaint lacks any factual allegations to support Plaintiff’s claim that

Readerlink was her employer, as she cannot allege such facts in good faith.

         3.    Rather than provide any detail as to the nature or extent of Plaintiff’s alleged

employment relationship with Readerlink (because no such relationship exists), and despite

Plaintiff’s express admission that HireLevel is the staffing agency that “maintained control and

supervision over Plaintiff” (Compl., ¶¶ 8, 19) and “inexplicably terminated Plaintiff’s

employment” after she submitted a report of sexual harassment (Compl., ¶ 30), the Complaint

seeks to lump both Defendants together, alleging that “Plaintiff was jointly employed by

Defendants as a scanner/picker….” (Compl., ¶ 14).

         4.    However, as explained in greater detail below, the Complaint’s bareboned

allegations are woefully deficient. Plaintiff has not pleaded (nor can she plead) any facts to support

the existence of an employment relationship with Readerlink. Accordingly, the Complaint must

be dismissed for failure to state a claim.

II.      LEGAL STANDARD

         A Rule 12(b)(6) motion to dismiss challenges a plaintiff’s complaint as failing to

sufficiently state a claim on which relief may be granted. Fed. R. Civ. P. 12(b)(6). Under

applicable notice-pleading standards, a complaint must “give the defendant fair notice of what the

... claim is and the grounds upon which it rests.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

555 (2007); see also Fed. R. Civ. P. 8(a)(2). Although a complaint need not provide detailed

factual allegations, “a plaintiff’s obligation to provide the grounds of [his] entitlement to relief

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of

                                                 -2-
35720301.1
 Case 3:23-cv-02893-SMY Document 26 Filed 10/18/23 Page 3 of 8 Page ID #78




action will not do.” Bell Atlantic, 355 U.S. at 555. “After Bell Atlantic, it is no longer sufficient

for a complaint ‘to avoid foreclosing possible bases for relief; it must actually suggest that the

plaintiff has a right to relief, by providing allegations that raise a right to relief above the

speculative level.’” Tamayo v. Blagojevich, 526 F.3d 1074, 1084 (7th Cir. 2008). A claim is

facially viable “when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

556 U.S. 662, 677 (2009). Here, Plaintiff’s conclusory Complaint allegations fail to state a viable

claim for Plaintiff to proceed with her Title VII claims as to Readerlink.

III.     THE COMPLAINT MUST BE DISMISSED UNDER RULE 12(B)(6) FOR
         FAILURE TO STATE A CLAIM AGAINST READERLINK

         The Complaint purports to assert Title VII claims for sexual harassment, gender

discrimination and retaliation against Readerlink for the actions and conduct of Plaintiff’s

employer, HireLevel. In support of her claims, Plaintiff asserts in conclusory fashion that she “was

jointly employed” by both Defendants. (Compl., ¶ 10.) However, Plaintiff’s claims as to

Readerlink should be dismissed because Plaintiff has failed to allege sufficient facts demonstrating

that Readerlink employed Plaintiff.

         To maintain claims of Title VII harassment and/or retaliation, a plaintiff must allege “the

existence of an employer-employee relationship.” Claussen v. Muchowski, No. 21 CV 05316,

2022 U.S. Dist. LEXIS 173680, at *5 (N.D. Ill. Sep. 26, 2022) (citing Love v. JP Cullen & Sons,

Inc., 779 F.3d 697, 701 (7th Cir. 2015)). Moreover, while an employee may bring a Title VII

claim against her direct employer, she can only bring a claim against an indirect employer “if the

indirect employer qualifies as a joint employer.” Id. (internal quotations omitted).

         For purposes of Title VII, the courts consider the following five (5) factors when

determining whether an entity is a joint employer: “(1) the extent of the [entity’s] control and


                                                 -3-
35720301.1
 Case 3:23-cv-02893-SMY Document 26 Filed 10/18/23 Page 4 of 8 Page ID #79




supervision over the employee; (2) the kind of occupation and nature of skill required, including

whether skills were acquired on the job; (3) the [entity’s] responsibility for the costs of operation;

(4) the method and form of payment and benefits; and (5) the length of the job commitment.”

Love, 779 F.3d at 702 (citing Knight v. United Farm Bureau Mut. Ins. Co., 950 F.2d 377, 378-79

(7th Cir. 1991)). The foregoing factors provide a structured framework for determining “whether

the putative employer exercised sufficient control, and whether the ‘economic realities’ are such

that the putative employer can be held liable under Title VII.” Id. Here, Plaintiff has failed to

allege sufficient facts to establish the existence of an employer-employee relationship between

Readerlink and Plaintiff.

         The Complaint is devoid of any facts to establish that Plaintiff was ever employed by

Readerlink. In particular, the Complaint lacks any factual allegations regarding the economic

reality of the relationship between Plaintiff and Readerlink, including, for instance, the extent of

Readerlink’s control and supervision over Plaintiff, the kind of occupation and nature of skill

required for Plaintiff’s position, whether Readerlink had responsibility for the costs of operation,

the method and form of payment and benefits which Plaintiff received, or the length of the job

commitment. See Love, 779 F.3d at 702 (citing Knight, 950 F.2d at 378-79). Absent such

allegations, the Complaint fails to establish the existence of the employment relationship required

to maintain Plaintiff’s claims under Title VII. See Claussen, 2022 U.S. Dist. LEXIS 173680, at

*9 (N.D. Ill. Sep. 26, 2022) (“Plaintiff's Complaint alleges no facts to shed light on Knight's five

factors or suggest how Farmers exercised any control over her, let alone "significant" control. …

Instead, her Complaint simply alleges in conclusory fashion that Muchowski and Farmers both

employed her. This does not suffice.”); Ashley v. Morrison Management Specialists Inc., No. 22

C 5606, 2023 U.S. Dist. LEXIS 141002, at *7 (N.D. Ill. Aug. 11, 2023) (dismissing Title VII



                                                 -4-
35720301.1
 Case 3:23-cv-02893-SMY Document 26 Filed 10/18/23 Page 5 of 8 Page ID #80




claims because none of [the complaint] allegations support the conclusion that Cook County

exercised control over her work as a cashier in the hospital cafeteria”).

         Rather than allege any facts as to the nature or extent of an employment relationship with

Readerlink, the Complaint principally relies on unsupported legal conclusions. For instance, the

Complaint simply asserts, without any supporting detail, that Plaintiff was “jointly employed by

Defendants as an ‘employee’ within the meaning of 42 U.S.C. § 2000e(f)” (Compl., ¶ 10), that

“Defendants generally controlled the terms and conditions of Plaintiff’s employment” (Compl., ¶

13), and that “both Defendants exerted significant control over the same employees, including

Plaintiff….” (Compl., ¶ 32). However, these sorts of conclusory allegations are not entitled to a

presumption of truth and are insufficient to establish a joint-employer relationship. See Claussen,

2022 U.S. Dist. LEXIS 173680, at *10 (dismissing defendant based on plaintiff’s theory of joint

employment where the “Complaint simply allege[d] in conclusory fashion that [defendants] both

employed her”); Gross v. Peoples Gas Light & Coke Co., 2018 U.S. Dist. LEXIS 10985, at *11-

12 (N.D. Ill. Jan. 24, 2018) (dismissing defendant based on plaintiff’s theory of joint employment

because “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice”); Shah v. Littelfuse Inc., 2013 U.S. Dist. LEXIS 61081, at *10 (N.D.

Ill. Apr. 29, 2013) (plaintiff’s allegation that the defendants “were [his] joint employer … under

Title VII” was “insufficient to withstand a Rule 12(b)(6) motion”).

         Moreover, the only specific, non-conclusory facts in the Complaint as to Readerlink—

namely, that Plaintiff purportedly reported an incident of alleged sexual harassment and that, on

information and belief, Readerlink failed to investigate or take other corrective action (Compl., ¶¶

22-23)—do not support holding Readerlink liable as an employer under Title VII. At best, these

allegations suggest that Readerlink maintained some administrative involvement in Plaintiff’s



                                                -5-
35720301.1
 Case 3:23-cv-02893-SMY Document 26 Filed 10/18/23 Page 6 of 8 Page ID #81




employment, which is insufficient to establish a joint employment relationship. See Shah, 2013

U.S. Dist. LEXIS 61081, at *11 (“A plaintiff cannot maintain a valid Title VII claim against a

defendant based solely on the defendant’s involvement in administrative tasks related to the

plaintiff’s employment.”); Garzon v. Arrowmark Colo. Holdings, LLC, 2017 U.S. Dist. LEXIS

208889, *8 (N.D. Ill. Dec. 20, 2017) (dismissing joint employer claims where the complaint

alleged that “Garzon sent a single email to Jepson complaining about the harassment” because

“[i]nstead of alleging control, these assertions offend the basic principle that ‘[a] plaintiff cannot

maintain a valid Title VII claim against a defendant based on the defendant's involvement in

administrative tasks related to the plaintiff's employment’”).

         Simply put, the Complaint fails to state a viable claim with respect to Readerlink because

it contains no specific allegations demonstrating Plaintiff’s employment relationship with

Readerlink. See Gross, 2018 U.S. Dist. LEXIS 10985, at *8 (dismissing joint-employer Title VII

claims where “[n]umerous cases establish that the omission of … key information from a

complaint is an indicia of artful pleading, rather than a good faith effort to provide fair notice of a

claim”) (citing Ivery v. RMH Franchise Corp., 280 F. Supp. 3d 1121, No. 17 C 1619, 2017 U.S.

Dist. LEXIS 202270, 2017 WL 6878099, at *4-6 (N.D. Ill. Dec. 8, 2017) & Cavallaro v. UMass

Mem'l Healthcare, Inc., 678 F.3d 1, 10 & n.10 (1st Cir. 2012)). Accordingly, the Complaint fails

to state viable claims as to Readerlink under Title VII and must be dismissed.

IV.      CONCLUSION

         For the foregoing reasons, Defendant Readerlink Distribution Services, LLC respectfully

requests that this Court dismiss, without prejudice, Plaintiff’s Complaint as to Readerlink pursuant

to Rule 12(b)(6).




                                                 -6-
35720301.1
 Case 3:23-cv-02893-SMY Document 26 Filed 10/18/23 Page 7 of 8 Page ID #82




Dated: October 18, 2023                   Respectfully submitted,

                                          READERLINK DISTRIBUTION
                                          SERVICES, LLC.

                                          /s/ Alexis M. Dominguez

                                          Alexis M. Dominguez
                                          adominguez@nge.com
                                          NEAL, GERBER & EISENBERG LLP
                                          Two North LaSalle Street
                                          Suite 1700
                                          Chicago, IL 60602-3801
                                          (312) 269-8000

                                          Counsel for Defendant Readerlink
                                          Distribution Services, LLC




                                    -7-
35720301.1
 Case 3:23-cv-02893-SMY Document 26 Filed 10/18/23 Page 8 of 8 Page ID #83




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I have this 18th day of October, 2023, electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will automatically send an e-

mail notification of such filing to all counsel of record.



                                                        /s/ Alexis M. Dominguez
                                                        Counsel for Defendant




                                                  -8-
35720301.1
